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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK

                                                        Case No. 1:18-cr-00204-NGG-VMS
   UNITED STATES OF AMERICA

                                                        NOTICE OF MOTION FOR JUDICIAL
            - v. –                                      DISQUALIFICATION

                                                        ORAL ARGUMENT REQUESTED
   KEITH RANIERE,

                          Defendant.                    Submitted on May 5, 2022




            PLEASE TAKE NOTICE that Mr. Keith Raniere, by and through his undersigned

   counsel, Joseph M. Tully, will move pursuant to 28 U.S.C. § 445 that Judge Nicolas G. Garaufis,

   United States District Judge for the Eastern District of New York, disqualify himself from any

   further proceedings in this case (1) because his impartiality may reasonably be questioned and

   (2) because Mr. Raniere’s Fifth and Fourteenth Amendment rights to a fair trial before an

   unbiased, impartial tribunal have not been waived.



   Dated:          May 5, 2022                          Respectfully submitted,
                   Martinez, CA
                                                         /s/Joseph M. Tully
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